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                                                                  U.S. DISTRICT COURT
                                                             EASTERN DISTRICT OF ARKANSAS
                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                                                                       FILED
                                                                                                '
                                                                                       OCT 3 1 2019
  UNITED STATES OF AMERICA                     )
                                               )
  V.                                           )
                                               )       21 U.S.C. § 846
  ANTONIO L. LEWIS                             )


                                SUPERSEDING INFORMATION

  THE UNITED STATES ATTORNEY CHARGES THAT:

                                              COUNT 1

         From in or about December 2015, through in or about May 2017, in the Eastern District

  of Arkansas and elsewhere, the defendant,

                                       ANTONIO L. LEWIS,

  conspired with Aaron Laray Clark, aka "Black," and others to knowingly and intentionally

  possess with intent to distribute and to distribute 100 grams or more of a mixture and substance

  containing a detectable amount of heroin, a Schedule I controlled substance, in violation of Title

  21, United States Code, Sections 841(a)(l) and 841(b)(l)(B).

         All in violation of Title 21, United States Code, Section 846.




  Respectfully Submitted,

  CODY HILAND
  United States Attorney


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 By: BENECIA B. MOORE (2006050)
 Assistant United States Attorney
 Post Office Box 1229
 Little Rock, Arkansas 72203
 (501) 340-2600
 Benecia.Moore@usdoj.gov
